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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


  RALPH BIRCH,                                           No. 3:20-CV-1790 (VAB)
                                                         [rel. No. 3:20-CV-1792]
                         Plaintiff,
  -against-

  TOWN OF NEW MILFORD et al.,
                                                         December 11, 2024
                         Defendants.


                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and the

Settlement Agreement between Plaintiff Shawn Henning and Defendants Town of New Milford

and Steven Jordan, all parties hereby stipulate to dismissal of Mr. Henning’s claims with

prejudice and without fees or costs to any party. This Joint Stipulation of Dismissal does not

include any claims that Ralph Birch has asserted.


                                                     Respectfully submitted,

                                                     SHAWN HENNING, PLAINTIFF

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                                   TOWN OF NEW MILFORD
                                   AND STEVEN JORDAN,
                                   DEFENDANTS


                                        /s/ Elliot B. Spector
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